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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-2674

  FRANK LEON,

         Plaintiff,

         v.

  CAPITAL ONE BANK (USA), N.A.,

         Defendant.
                                     NOTICE OF SETTLEMENT

         NOW COMES Plaintiff, FRANK LEON (“Plaintiff”), by and through the undersigned

  counsel, and hereby informs the Court that a settlement of the present matter has been reached

  and all parties to the present matter are currently in the process of executing the aforementioned

  settlement agreement, which Plaintiff anticipates will be completed within the next 60 days.

         Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

  calendar for the present matter.

  DATED: January 15, 2019                     RESPECTFULLY SUBMITTED,

                                        By: /s/ Adam T. Hill
                                             Adam T. Hill
                                             Attorney for Plaintiff
                                             Krohn & Moss, Ltd.
                                             10 N. Dearborn St
                                             Suite 301
                                             Chicago, IL 60602
                                             Tel: (312) 578-9428 ext 242
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                                      NOTICE OF SETTLEMENT                                             1
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 15, 2019, I electronically filed the foregoing Notice of

  Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

  submitted to all parties by way of the Court’s CM/ECF System.




                                              By:      /s/ Adam T. Hill
                                                       Adam T. Hill
                                                       Attorney for Plaintiff




                                     NOTICE OF SETTLEMENT                                            2
